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24                               UNITED STATES DISTRICT COURT
25                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
26
27
28

                                                      1
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 1 PCG-SP VENTURE I LLC                               CASE NO.: 5:20-cv-1138
   dba V PALM SPRINGS HOTEL, a
 2 limited liability company;
                                                      COMPLAINT FOR DECLARATORY
 3                                                    RELIEF, INJUNCTIVE RELIEF AND
                          Plaintiff,                  DAMAGES
 4
 5                                 vs.
 6 GAVIN NEWSOM, in his official
                                                      JURY TRIAL DEMANDED
 7 capacity as Governor of California;
   XAVIER BECERRA, in his official
 8 capacity as the Attorney General of
 9 California; and SONIA Y. ANGELL,
   MD, MPH, in her official capacity as the
10
   Director and State Public Health Officer,
11
                Defendants.
12
13
            NOW COMES the above-named Plaintiff PCG-SP Venture I LLC dba V Palm Springs
14
      Hotel (“Plaintiff”), by and through its attorneys of record, Geragos & Geragos, APC and
15
      Dhillon Law Group Inc., as and for its claims against Defendants Gavin Newsom, in his
16
      official capacity as Governor of California; Xavier Becerra, in his official capacity as
17
18 Attorney General of California; and Sonia Y. Angell, MD, MPH, in her official capacity as
19 the Director and State Public Health Officer (hereafter collectively referred to as
20 “Defendants”), alleges as follows:
21                                       INTRODUCTION
22          1.    On April 27, 2020, Attorney General William Barr sent a memorandum to
23 all United States Attorneys regarding civil rights violations occurring in various states
24 during the coronavirus crisis.1
25
26
27    1
    Available as of the date of filing at: https://cdn.cnsnews.com/attachment/ag_memo_-
28 _balancing_public_safety_with_the_preservation_of_civil_rights_0.pdf.

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 1          2.    Attorney General Barr reminded the top federal law enforcement officials
 2 of the United States that “the Constitution is not suspended in times of crisis.”
 3          3.    In his memorandum, Attorney General Barr directed all United States
 4 Attorneys to identify state directives that could be violating the constitutional rights and
 5 civil liberties of individual citizens. Attorney General Barr then directed that:
 6          If a state or local ordinance crosses the line from an appropriate exercise of
 7          authority to stop the spread of COVID-19 into an overbearing infringement
 8          of constitutional and statutory protections, the Department of Justice may
            have an obligation to address that overreach in federal court.
 9
10          4.    This lawsuit is filed to challenge the very type of overbearing infringement
11 of constitutional and statutory protections identified by Attorney General Barr.
12       5.      Defendants have used the coronavirus pandemic to expand their authority
13 by unprecedented lengths, depriving Plaintiff, and all other residents of California, of
14 fundamental rights protected by the U.S. and California Constitutions, especially but
15 not limited to, the rights to liberty, property, and travel, and the right to the equal
16 protection of the law.
17          6.    It is this Court’s duty to defend these constitutional and statutory principles
18 by safeguarding the rights and liberties of Californians that Defendants violate.
19          7.    This action presents facial and as-applied challenges to the California
20 Governor’s March 19, 2020 Executive Order N-33-20 (the “Executive Order”).
21          8.    On or around May 8, 2020, Riverside County reverted most of its local
22 health orders to align with Governor Newsom’s statewide stay-at-home order. The
23 County continues to enforce the Executive Order to the extreme detriment of Plaintiff’s
24 business.
25       9.       If allowed to stand, the Executive Order will not only further violate
26 Plaintiff’s rights under both the California and U.S. Constitutions, but it will continue to
27
   inflict massive and widespread economic damage to Plaintiff—all while
28
   unconstitutionally placing the burden of Defendants’ respective Orders on the backs of
                                                 3
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 1 both small and large “non-essential” businesses—such as that of Plaintiff—which
 2 businesses have already been financially crippled and forced to shut their doors and
 3 conduct mass layoffs.
 4          10.   Effective May 21, 2020, Riverside County moved into the accelerated
 5 Stage 2 under the Governor’s Executive Order, allowing the reopening of shopping
 6
   centers and restaurants for dining in. However, Plaintiff is still prevented from
 7
   reopening its lodging business since hotels throughout the State of California are unable
 8
   to legally operate. Indeed, Plaintiff’s hotel which is labeled as “non-essential” might
 9
   never financially recover as a result of Defendants’ Orders and may end up entirely out
10
   of business. The stakes for immediate relief from this Court could not be higher for
11
   Plaintiff.
12
          11.    The present situation in Riverside County, and throughout much of the
13
14 State, is entirely irrational. As of May 29, 2020, Riverside County had a total of 7,486
                                                          2
15 confirmed cases and 323 deaths as a result of COVID-19. Of that total, 137 confirmed
                                                                        3
16 cases and just 9 deaths have occurred in the city of Palm Springs. Despite these
17 relatively low numbers, Plaintiff is unable to operate its hotel business while similarly
18 situated businesses are permitted to operate. For instance, dine-in restaurants where
19 individuals are in enclosed spaces together for extended periods of time are permitted to
20
21
22
      2
23      See Riverside County Covid-19 Cases Data Summary: May 29 available as of the date
      of filing at:
24    https://www.rivcoph.org/Portals/0/Documents/CoronaVirus/May/Dashboard/Public_Da
25    ily_COVID-19_Updates_052920.pdf
      3
26      See Riverside County Covid-19 Cases by City of Residence: May 29 available as of
      the date of filing at:
27    https://www.rivcoph.org/Portals/0/Documents/CoronaVirus/May/Dashboard/City_Repo
28    rt_052920.pdf.

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 1 operate. Short term vacation rentals are also permitted to re-open.4 On the other hand, a
 2 hotel like the V Palm Springs, which maintains an open floor plan, contains no elevators
 3 or enclosed hallways, and which contains most of its public spaces outdoors, is
 4 prohibited from operation. This is despite the hotel’s commitment to strictly adhere to
 5 health and safety guidelines promulgated by the State on May 12, 2020.
 6
            12.    The distinctions made by State officials under the present Executive Order
 7
      are arbitrary and irrational on their face and immensely damaging to Plaintiff.
 8
            13.    Plaintiff brings this action challenging the constitutionality of Defendants’
 9
      Orders, which have deprived it of numerous rights and liberties under both the U.S. and
10
      California Constitutions. In doing so, Plaintiff seeks: (1) equitable and injunctive relief
11
      to enjoin the enforcement of the Executive Order; (2) declaratory relief that the
12
      Executive Order violates Plaintiff’s civil rights under: (a) 42 U.S.C. Section 1983 of the
13
14 Federal Civil Rights Act (“Section 1983”); (b) the Dormant Commerce Clause of
15 Article I, Section 8 of the U.S. Constitution; (c) the Due Process Clause of the
16 Fourteenth Amendment to the U.S. Constitution; (d) the Equal Protection Clause of the
17 Fourteenth Amendment to the U.S. Constitution; (e) the Takings Clause of the Fifth
18 Amendment to the U.S. Constitution; and (f) Article 1 Sections 1, 7 and 19 of the
19 California Constitution; (3) the reasonable value of property commandeered in violation
20 of California Government Code section 8572; (4) just compensation under California
21 codes in an amount according to proof at trial; (5) attorneys’ fees and costs in an
22 amount according to proof; and (6) such other and further relief as the Court deems just
23 and appropriate.
24
25
26
27    4
    See Riverside County Reopening Guidelines, available as of the date of filing at:
28 https://rivcoccsd.org/reopening-guidelines.

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 1                          JURISDICTION, VENUE, AND RELIEF
 2          14.    As explained above, this action arises under various federal statutes and
 3 provisions of the U.S. Constitution. Accordingly, this Court has federal question
 4 jurisdiction under 28 U.S.C. §§ 1331 and 1343.
 5          15.    This Court has authority to award the requested declaratory relief under 28
 6
      U.S.C. § 2201; the requested injunctive relief and damages under 28 U.S.C. § 1343(a);
 7
      damages under 42 U.S.C. § 1983 and California law; and attorneys’ fees and costs
 8
      under 42 U.S.C. § 1988.
 9
            16.    The Central District of California is the appropriate venue for this action
10
      pursuant to 28 U.S.C. §§ 1391(b)(1) and (2) because it is the district in which
11
      Defendants maintain offices, exercise authority in their official capacities, and enforce
12
      the Executive Order; it is also the district in which a substantial portion of the events
13
      giving rise to the claims occurred.
14
                                              PARTIES
15
            17.    Plaintiff PCG-SP Venture I LLC dba V Palm Springs Hotel (“V Palm
16
      Springs”), at all relevant times, is and was a California limited liability company
17
      authorized to do business and doing business in the State of California. Located in Palm
18
19 Springs, California (Riverside County), V Palm Springs operates a 144-room hotel
20 catering to guests looking to stay in the city of Palm Springs. V Palm Springs has been
21 forced to close since Governor Newsom and the County of Riverside instituted their
22 respective “shut-down” orders, despite the fact that V Palm Springs could have safely
23 operated its business within the CDC’s recommended social distancing guidelines.
24          18.    Defendant Gavin Newsom (“Newsom”) is made a party to this action in
25 his official capacity as the Governor of California. The California Constitution vests the
26 “supreme executive power of the State” in the Governor, who “shall see that the law is
27 faithfully executed.” Cal. Const. Art. V, § 1. Governor Newsom signed the Executive
28 Order on March 17, 2020.

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 1          19.   Defendant Xavier Becerra (“Becerra”) is made a party to this action in his
 2 official capacity as the Attorney General of California. Under California law, Becerra is
 3 the chief law enforcement officer with supervision over all sheriffs in the State. Cal.
 4 Const. Art. V, § 13.
 5        20.    Defendant Sonia Y. Angell, MD, MPH (“Dr. Angell”) is made a party to
 6
   this action in her official capacity as the Director and State Public Health Officer. Dr.
 7
   Angell is sued herein in her official capacity under the rule of Ex Parte Young to
 8
   challenge the constitutionality of her office’s list of “Essential Critical Infrastructure
 9
   Workers” which was issued by Dr. Angell on March 22, 2020 to complement Newsom’s
10
   Executive Order. See Ex Parte Young, 209 U.S. 123, 152–154 (1908).
11
          21.    As alleged herein, Defendants are responsible for the implementation of
12
   various executive orders and other civil orders (“Orders”) that are in direct violation of
13
14 the U.S. and California Constitutions, including but not limited to, 42 U.S.C. Section
15 1983. Accordingly, each and every Defendant acted under color of state law with
16 respect to all acts or omissions herein alleged.
17                                  FACTUAL ALLEGATIONS
18          22.   On or about March 13, 2020, President Donald J. Trump proclaimed a
19 National State of Emergency as a result of the threat of the emergence of the novel
                                        5
20 coronavirus, also known as COVID-19.
21
22
23
24
25
      5
26  Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus
   Disease (COVID-19) Outbreak, whitehouse.gov (Mar. 13, 2020),
27 https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-
28 emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.

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 1          23.   Since the initial outbreak of COVID-19 in the United States in February
 2 2020, Defendants have increasingly restricted—where not outright banned— Plaintiff’s
 3 engagement in constitutionally protected activities.
 4          24.   Specifically, California Governor Gavin Newsom issued a “State of
 5 Emergency” order on March 4, 2020 in response to the threat of the spread of COVID-19
 6 throughout California’s communities. In so doing, Defendant Newsom subsequently
 7 issued the Executive Order on March 19, 2020 which, among other things, mandated that
 8 “all residents are directed to immediately heed the current State public health directives.”
 9          25.   The state public health directives mandated that “all individuals living in the
10 State of California” were to “stay home or at their place of residence except as needed to
11 maintain continuity of operations of the federal critical infrastructure sectors as outlined
12 at https://www.cisa.gov/identifying-critical-infrastructure-during-covid-19.”
13          26.   Governor Newsom’s Executive Order went on to acknowledge that the
14 federal government had “identified 16 critical infrastructure sectors6 whose assets,
15 systems, and networks, whether physical or virtual, are considered so vital to the United
16 States that their incapacitation or destruction would have a debilitating effect on security,
17 economic security, public health or safety, or any combination thereof,” such that
18 Governor Newsom ordered that “Californians working in these 16 critical infrastructure
19
20
21
22
      6
23     These sectors included the (1) Chemical Sector, (2) Commercial Facilities Sector, (3)
      Communications Sector, (4) Critical Manufacturing Sector, (5) Dams Sector, (6)
24    Defense Industrial Base Sector, (7) Emergency Services Sector, (8) Energy Sector, (9)
25    Financial Services Sector, (10) Food and Agriculture Sector, (11) Government Facilities
26    Sector, (12) Healthcare and Public Health Sector, (13) Information Technology Sector,
      (14) Nuclear Reactors Materials, and Waste Sector, (15) Transportation Systems Sector,
27    and (16) Water and Wastewater Systems Sector.
28

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 1 sectors continue their work because of the importance of these sectors to Californians’
 2 health and well-being.”
 3          27.   Governor Newsom further declared that “this Order is being issued to
 4 protect the public health of Californians” and that “our goal is simple, we want to bend
 5 the curve, and disrupt the spread of the virus.” Thereafter, Governor Newsom directed
 6 the Office of Emergency Services to “take all necessary steps to ensure compliance with
 7 this Order” and that the “Order shall be enforceable pursuant to California law, including,
 8 but not limited to, Government Code section 8665.”7
 9          28.   As a result of the issuance of Defendant Newsom Order, California
10 businesses which were not part of the 16 “critical infrastructure sectors” described
11 above and were therefore deemed “non-essential” businesses, such as Plaintiff’s
12 business, were effectively ordered to shut down under penalty of fine and
13 imprisonment.
14
            29.   On or about March 17, 2020, Cameron Kaiser, the Riverside County
15
      Director and Public Health Officer, issued similar “stay-in-place” and “shut-down”
16
      orders for all “non-essential” businesses for the County of Riverside8 (“County Order”).
17
18
19
20    7
     Section 8665 of the California Government Code provides that: “Any person who
21 violates any of the provisions of this chapter or who refuses or willfully neglects to
   obey any lawful order or regulation promulgated or issued as provided in this chapter,
22 shall be guilty of a misdemeanor and, upon conviction thereof, shall be punishable by a
23 fine of not to exceed one thousand dollars ($1,000) or by imprisonment for not to
   exceed six months or by both such fine and imprisonment.”
24
      8
25   On April 20, 2020, the County of Riverside, through Defendant Kaiser, modified its
26 Order to begin allowing some “non-essential” businesses to open, including outdoor
   activities, albeit with limitations and restrictions.
27 https://nbcpalmsprings.com/2020/04/20/riverside-county-allows-outdoor-activities-to-
28 reopen-with-restrictions-including-golf-courses/

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 1         30.   On or around May 8, 2020, Riverside County reverted most of its local
 2 health orders to align with Governor Newsom’s statewide stay-at-home order. The
 3 County continues to enforce Governor Newsom’s Executive Order.
 4         31.   Additionally, on March 22, 2020, Defendant Dr. Angell issued a
 5 comprehensive directive9 enumerating all of the various types of “Essential Critical
 6
   Infrastructure Workers” that were to “help state, local, tribal and industry partners as
 7
   they work to protect communities, while ensuring continuity of functions critical to
 8
   public health and safety, as well as economic and national security.”
 9
          32.   Taken together, Defendants’ Orders have caused widespread and
10
   catastrophic damage to the California economy through the government-mandated
11
   closure of not only Plaintiff’s business, but millions of other “non-essential” businesses
12
   across California. As a result, Plaintiff has faced numerous difficulties with respect to
13
14 its financial obligations, has been forced to lay off a significant number of its
15 employees, and currently faces a very real and a very existential threat to its collective
16 survival and business operations.
17         33.   At a press conference on March 19, 2020, Newsom repeatedly said the
                                                             10
18 rationale for the Executive Order was to “bend the curve.” He also said “[t]he point of
                                                           11
19 the stay at home order is to make those numbers moot” and put them “in the dustbin
               12
20 of history.” He added that one goal was to slow down transmission enough to reduce
21
22
23
24   9
       https://covid19.ca.gov/img/EssentialCriticalInfrastructureWorkers.pdf.
     10
25      March 19, 2020 press briefing at 0:30-0:35, 8:10-8:20, 10:00-10:15, 24:20-24:30,
26   33:45-33:55, and 35:17-36:00, available as of May 18, 2020 at:
     https://www.youtube.com/watch?v=8OeyeK8-S5o.
27   11
        Id. at 35:10-35:20.
     12
28      Id. 33:55-34:05.

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 1 the strain it might place on hospital resources.13 It is this laudable goal of “bending the
 2 curve” that Newsom has now tossed into the dustbin, in favor of an ever-shifting
 3 goalpost just out of reach for California’s citizens.
 4         34.   In a letter he wrote to President Trump the day before the press conference,
 5 on March 18, 2020, Newsom projected that 56 percent of Californians, or roughly 25.5
 6 million people, could be infected over the ensuing eight weeks.14 His letter went on to
 7 say that “[i]n some parts of our state, our case rate is doubling every four days.”15
 8         35.   As of May 31, 2020, there were 113,006 confirmed cases,16 which is only
 9 0.4% of Newsom’s projection.
10         36.   At his March 19, 2020 press conference, Newsom explained that a 20
11 percent hospitalization rate could mean that California would face a shortfall of 19,543
12 hospital beds above the state’s current capacity of approximately 78,000 beds.17 He
13 added that California had a surge capacity of 10,207 additional beds that could partially
14 offset this shortfall.18 Thus, he predicted a total shortfall of approximately 9,336 beds.19
15         37.   Mark Ghaly, Newsom’s Secretary of Health and Human Services, said that
16 the 56 percent estimate came from “[u]sing the available literature, advice from the
17 CDC and our understanding and experience in California” and that they “applied a
18 variety of different measures that looked at an attack rate, that looked at the R0 … we
19
20
21   13
        Id. at 5:42-8:09.
22   14
        Available as of May 30, 2020, at: https://www.gov.ca.gov/wp-
23   content/uploads/2020/03/3.18.20-Letter-USNS-Mercy-Hospital-Ship.pdf.
     15
        Id.
24   16
        Available as of the date of filing at:
25   https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx.
     17
26      March 19, 2020 press briefing, at 5:40-7:32, available as of May 30, 2020 at:
     https://www.youtube.com/watch?v=8OeyeK8-S5o.
27   18
        Id. at 7:20-7:40.
     19
28      Id.

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 1 looked at … hospitalization rates that we had available as well as other outcome
 2 measures.”20
 3         38.    The Secretary also stated that “[w]e knew that the attack rate of 56 percent
 4 that we chose was somewhat in the middle between the high-end and the low-end of
 5 what we’d seen in the literature . . . .”21
 6         39.    Newsom admitted that his numbers did not account for any mitigation
 7 measures put in place. Rather, those numbers assumed that “we’re just along for the
 8 ride[.]”22
 9         40.    In contrast, several infectious disease experts, including Professor of
10 Epidemiology John P.A. Ioannidis of Stanford University, called this an extreme, worst-
11 case scenario that was unlikely to happen.23 These experts are proving correct, and
12 Newsom has been proven wrong, by orders of magnitude.
13         41.    Although the California Emergency Services Act provides Newsom with
14 the power to unilaterally promulgate regulations in an emergency, such regulations must
15 at least be reasonable. Because such regulations may severely impinge the civil liberties
16 of the populace and curb an individual’s freedom, only a clear showing of emergent
17 necessity may justify their imposition. Freedom to move about the state and engage in
18 business is a fundamental right which may be restricted only where necessary to further
19 the most compelling state interest, and such regulations must be narrowly circumscribed
20
21
22
     20
23      Id. at 28:49-31:11.
     21
        Id.
24   22
        Id. at 24:20-24:40.
     23
25      Newsom: 56 % of Californians Could Get Coronavirus If Nothing Is Done, San
26   Francisco Chronicle, March 19, 2020, available as of May 20, 2020 at:
     https://webcache.googleusercontent.com/search?q=cache:sokxG9_b-
27   2oJ:https://www.sfchronicle.com/health/article/Newsom-56-of-Californians-could-get-
28   coronavirus-15144438.php+&cd=1&hl=en&ct=clnk&gl=us.

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 1 to withstand a constitutional challenge for overbreadth and vagueness. Gayle v.
 2 Governor of Guam, 414 F. Supp. 636, 638-39 (D. Guam 1976) (citing Carroll v. United
 3 States, 267 U.S. 132 (1925)); People v. McKelvy, 23 Cal.App.3d 1027 (1972).
 4         42.   It is widely accepted and understood that the judiciary defers to the
 5 executive branch during states of emergencies. However, the judiciary must at least
 6 review the executive’s claims of emergency and not serve as a mere rubber-stamp.
 7 Additionally, a deferential “hands-off” approach goes out the window if the legislature
 8 has limited the executive’s exercise of emergency authority. See Humanitarian Law
 9 Project v. U.S. Treasury Dep't, 578 F.3d 1133, 1145 (9th Cir. 2009) (reviewing
10 Executive Order 13224—President’s Bush invocation of authority under the
11 International Emergency Economic Powers Act (IEEPA), declaration of national
12 emergency, sanctioning of terrorist groups, and authorizing of Treasury to designate
13 further terrorist groups for sanctioning—in ruling that it was not unconstitutionally
14 vague); see also United States v. Nazemzadeh, No. 11 CR 5726 L, 2014 WL 310460, at
15 8 (S.D. Cal. Jan. 28, 2014) (“[IEEPA was] a response to two developments: first,
16 extensive use by Presidents of emergency authority under section 5(b) of the Trading
17 with the Enemy Act of 1917 to regulate both domestic and international economic
18 transactions unrelated to a declared state of emergency . . .”). The California Legislature
19 has codified the procedures and limitations on the executive’s emergency powers in
20 California Government Code section 8550, et seq. These laws are not mere surplusage,
21 and Newsom’s actions must be measured against limitations placed on his office’s
22 powers by the people through their elected representatives.
23         43.   California state courts also assess an executive’s declaration of emergency,
24 its justifications, and orders promulgated under said declaration. See California Corr.
25 Peace Officers Assn. v. Schwarzenegger, 163 Cal. App. 4th 802, 818 (2008) (assessing
26 whether Governor’s declaration met requirements of Emergency Services Act before
27 ruling that the declaration and the emergency cited—and overcrowded prisons—met the
28 requirements).

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 1         44.    The statutory authority by which the Defendants are attempting to exercise
 2 their purportedly untrammeled authority also requires the immediate discontinuation of
 3 the Orders once the emergency conditions have abated. California Government Code
 4 section 8567 provides that “[w]henever the state of war emergency or state of
 5 emergency has been terminated, the orders and regulations shall be of no further force
 6 or effect.” Gov’t Code § 8567. Section 8629 further requires that the Governor “shall
 7 proclaim the termination of a state of emergency at the earliest possible date that
 8 conditions warrant.” Id. § 8629 (emphasis added.) Continuing the state of emergency
 9 despite the abatement of the emergency conditions giving rise to it is ultra vires, would
10 constitute an abuse of discretion, and is plainly subject to judicial review.
11         45.    On information and belief, Plaintiff alleges that conditions giving rise to
12 the Governor’s Proclamation on March 4, 2020 no longer meet the requirements of
13 California Government Code section 8558, which requires conditions that “by reason of
14 their magnitude, are or are likely to be beyond the control of the services, personnel,
15 equipment, and facilities of any single county, city and county, or city and require the
16 combined forces of a mutual aid region or regions to combat.” Gov’t Code § 8558.
17         46.    During a briefing on April 16, 2020, Newsom stated that “[we] have
18 successfully bent and arguably flattened the curve in the state of California.”24
19 Therefore, by Governor Newsom’s own admission, no rational basis exists any longer
20 to justify the Executive Order or any County Order.
21         47.    Subsequently, Governor Newsom has begun slowly modifying the stay-at-
22 home Order to allow certain businesses to reopen in accordance with public health
23 guidelines. Riverside County has moved into the accelerated Stage 2 under the
24
25
26   24
      April 16, 2020 briefing by the Governor at 37:20, transcript available as of the date of
27 filing, at: https://www.rev.com/blog/transcripts/gov-gavin-newsom-california-covid-19-
28 briefing-transcript-april-16.

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 1 Governor’s Executive Order effective May 21, 2020 which means that dine-in service
 2 may resume for restaurants by following the Public Health Guidelines. In fact, the
 3 neighboring property to Plaintiff, a venerable landmark steakhouse called Mr. Lyons, is
 4 now open for dining in-house as of May 22, 2020.
 5       48.    Despite the disease curve having been flattened weeks ago, and with
 6
   Riverside County having relatively low numbers (323 deaths and the City of Palm
 7
   Springs having just 9 deaths as a result of COVID-19), Plaintiff’s hotel has not been
 8
   allowed to reopen. As of May 29, 2020, the County of Riverside and the City of Palm
 9
   Springs have deferred decision-making to the State on whether to allow Plaintiff to
10
   reopen, while simultaneously allowing restaurants and short-term vacation rentals in the
11
   City of Palm Springs to reopen.
12
         49.    There is no rational basis why Plaintiff’s hotel should not be allowed to
13
14 reopen safely. There is no difference between short term vacation rentals and hotels,
15 other than the fact that hotels likely have more resources available to fully adhere to the
16 State’s health and safety guidelines. The State’s distinction between short term vacation
17 rentals and hotels is completely arbitrary.
18         50.   The V Palm Springs Hotel maintains an open floor plan and does not
19 contain any elevators. There are no enclosed hallways, and the hotel’s public spaces are
20 mainly outdoors. The hotel maintains a large, spacious lobby where all guests and
21 employees will be able to maintain the CDC’s six-feet social-distancing guidelines. In
22 addition, all lounge chairs in the lobby and all pool furniture have already been arranged
23 more than six feet apart from one another in order to comply with the Center for
24 Disease Control (CDC) Guidelines, and all other State reopening guidelines. The
25 parking located on the premises is an open outdoor lot with ample space. Both
26
   restaurants in the Hotel also contain ample outdoor seating and have been arranged with
27
   similar social distancing measures. The Hotel plans to offer safe room-service for all
28
   guests on property, utilizing disposable single-use dining ware. The Hotel also plans to
                                                 15
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 1 maintain responsible property occupancy measures to ensure safety for all guests.
 2         51.    In addition to having an open floor plan and complying with social
 3 distancing guidelines, the Hotel staff has received training regarding enhanced safety
 4 procedures and will be actively taking extra precautions to ensure the safety and well-
 5 being of guests and other staff at the Hotel. Hotel staff will be required to wear face
 6
     coverings. Hand sanitizer stations will be added throughout the Hotel and sanitizers and
 7
     face masks will be available to hotel guests upon request. In sum, V Palm Springs is
 8
     committed to implementing and strictly following the Public Health Guidelines for
 9
     hotels and lodging promulgated by the State on May 12, 2020.25
10
           52.    Studies and health data show that the Executive Order would not only be
11
     of no benefit to preventing the transmission of COVID-19 or death from it—it could
12
     actually be detrimental to such efforts.
13
           53.    First, open air and sunlight (whether the mechanism of action is UV
14
     radiation or thermal energy) reduce the likelihood of transmission; the open air
15
     seemingly dissipates viruses to a negligible amount,26 while sunlight lessens the lifetime
16
     of an infectious, viral particle.27 28 A Department of Homeland Security official revealed
17
18
19
20
21
22
     25
23      https://covid19.ca.gov/pdf/guidance-hotels.pdf
     26
        Available as of the date of filing at:
24   https://www.medrxiv.org/content/10.1101/2020.04.04.20053058v1.
     27
25      Available as of the date of filing at:
26   https://www.sciencedirect.com/science/article/pii/S016609340400179X (similar
     coronavirus, the one that causes the SARS outbreak, is vulnerable to UV radiation).
27   28
        Available as of the date of filing at: https://www.newsweek.com/sunlight-
28   killscoronavirus-scientist-1500012.

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 1 that the preliminary results from a study showed that sunlight and high temperatures
 2 could destroy a COVID-19 viral particle within minutes.29
 3         54.    Second, COVID-19 seems to most severely affect those with underlying
 4 medical issues. The lack of access to fresh air, sunlight, exercise and social
 5 companionship (even from six feet away) may be detrimental, if not downright deadly,
 6 to the physical and psychological health of humans.30 Substance abuse relapse, lower
 7 immune system response, and higher risks for other medical conditions leaves one more
 8 vulnerable to COVID-19 transmission, infection, and death.31
 9         55.    Finally, official health bodies do not recommend the closure of public
10 spaces and or the implementation of major, internal travel restrictions. For example, the
11 CDC’s official mitigation guidelines for COVID-19 make no mention of closing public
12 parks or beaches.32 WHO and European CDC guidelines also advise against “internal
13 travel restrictions” during a pandemic because they have little effect on reducing
14 transmission, while imposing huge social and economic costs.33 There is little to no
15
16
17   29
        Available as of the date of filing at: https://www.reuters.com/article/us-health-
18   coronavirus-trump/sunlight-heat-and-humidity-weaken-coronavirus-u-s-officialsays-
     idUSKCN2253SA.
19   30
        City Council meeting with video showing discussions with doctors at Hoag Hospital
20   about observing increase in at 11:55-12:10, available as of May 30, 2020 at:
21   http://newportbeach.granicus.com/MediaPlayer.php?view_id=44&clip_id=3477.
     31
        Available as of the date of filing at: https://www.cdc.gov/coronavirus/2019-
22   ncov/need-extra-precautions/groups-at-higher-risk.html.
     32
23      Available as of the date of filing at: https://www.cdc.gov/coronavirus/2019-
     ncov/downloads/community-mitigation-strategy.pdf.
24   33
        “There is limited evidence for the effectiveness of internal travel restrictions, and it
25   has legal, ethical and economic implications. Although 37% of national pandemic
26   preparedness plans of Member States have travel restriction plans as a component of
     NPIs (65), the acceptability is still undetermined.” World Health Organization,
27   Nonpharmaceutical public health measures for mitigating the risk and impact of
28   epidemic and pandemic influenza, at p. 71, as of May 30, 2020, available at:

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 1 scientific support for Defendants’ shutdowns of local and state beaches, parks, and other
 2 open spaces.
 3        56.     The irrationality of the prohibition on the operation of Plaintiff’s hotel
 4 business is made even more clear when compared to the State of New York’s policies
 5 on industry reopening. New York, the main epicenter of the coronavirus pandemic in
 6 the United States, permits hotels to operate statewide while continuing to disallow
 7 dining-in at restaurants.34 The Governor of New York extended the stay-at-home order
 8
   for retailers through May 15, 2020 and made no mention of hotels. Among those still
 9
   open in New York City, the occupancy rate is about 33 percent.
10
          57.    The Executive Order should be terminated because: (1) the information the
11
   Executive Order was based on was flawed; (2) the State and the people of California
12
   have been educated about COVID-19 mitigation through public information campaigns
13
   and the procurement of medical resources; (3) the citizenry is implementing attack rate
14
   mitigation efforts through social distancing, hygiene, mask wear, and other means; and
15
   (4) the attack rate has been reduced to a manageable level which other governments
16
   have used as a rule of thumb to lift COVID-19 restrictions.
17
          58.    Plaintiff complains against Defendants, and each of them, for violation of
18
   Section 1983 to declare and enjoin the enforcement of the following orders:
19
              a. Defendant Newsom’s Executive Order N-33-20 issued on March 19, 2020;
20
              b. Defendant Dr. Angell’s designation of “Essential Critical Infrastructure
21
22
23
24 https://apps.who.int/iris/bitstream/handle/10665/329438/9789241516839-eng.pdf?ua=1;
25 see also European Centre for Disease Prevention and Control, Public Health Measures
26 for Influenza Pandemics, p. 9, § 12 (“Internal travel restrictions [have] minor delaying
   effect[s and] [m]assive [costs and risks], including social disruption.”).
27 34 See New York State Phase Two Guidelines, available at the time of filing at
28 https://forward.ny.gov/phase-two-industries.

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 1                  Workers” issued on March 22, 2020, which referenced Defendant
 2                  Newsom’s Executive Order issued three (3) days prior (part of the
 3                  Executive Order);
 4         59.      Plaintiff has standing to bring Section 1983 claims since it is an aggrieved
 5 in fact business that is the subject of enforcement of the overbroad and unconstitutional
 6 Orders which have the effect of forcing Plaintiff to bear a public burden by entirely
 7
     eviscerating Plaintiff’s ability to operate its business.
 8
           60.      Defendants’ Orders and the enforcement of these Orders should be
 9
     enjoined because:
10
                 a. The Orders plainly violate the Due Process and Equal Protection Clauses
11
                    of the Fifth and Fourteen Amendments to the U.S. Constitution in that they
12
                    disparately apply one set of rules to businesses arbitrarily deemed
13
                    “essential” versus all other businesses (such as Plaintiff’s) that are deemed
14
15                  “non-essential” and which must remain closed pursuant to the Orders.

16                  Plaintiff avers that ALL businesses in the State of California are “essential”
17                  to the health, welfare and well-being of its citizens, and that the general
18                  health outcome sought through the passage of these Orders (i.e. lowering
19                  the curve of the coronavirus) could have been and can still be
20                  accomplished through less restrictive means than those arbitrarily selected
21                  by Defendants. Additionally, there is no rational basis for allowing the
22                  reopening of certain businesses such as restaurants while prohibiting
23                  substantially similar businesses like Plaintiff’s hotel business from
24                  reopening, even when Plaintiff’s business would be safer to operate.
25               b. The Orders effectively amount to an impermissible “partial” or “complete”
26
                    taking in violation of the Takings Clause of the Fifth Amendment to the
27
                    U.S. Constitution in that the prohibition of Plaintiff’s operation of its
28
                    business constitutes a regulatory taking of private property, for public
                                                  19
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 1                  purpose, without providing just compensation therefor. Furthermore, the
 2                  Orders violates the Takings Clause of the Fifth Amendment in that the
 3                  complete prohibition on the business operations of “non-essential”
 4                  businesses constitutes an irrational, arbitrary, and capricious law bearing
 5                  no rational basis to any valid government interest. The notion that the
 6
                    government-ordered shutdown of “non-essential” businesses (such as
 7
                    Plaintiff’s) is absolutely necessary to curb the spread of the coronavirus
 8
                    constitutes an unconstitutional infringement on Plaintiff’s civil rights and
 9
                    liberties to operate in a free-market economy. As national and statewide
10
                    data has recently suggested, the economic impact of the mandatory,
11
                    unconstitutional closures of “non-essential” businesses has had an
12
                    unnecessarily devastating and unprecedented crippling effect on local and
13
                    state economies. ALL businesses are “essential” and necessary to the
14
15                  maintenance of the health, welfare and prosperity of California’s citizens.

16               c. The Orders violate the substantive and procedural due process clauses of
17                  the Fifth and Fourteenth Amendments to the U.S. Constitution.
18               d. The Orders violate the Dormant Commerce Clause of Article I, Section 8.
19               e. The Orders violate Article 1 Sections 1, 7 and 19 of the California
20                  Constitution.
21
           61.      Defendants’ Orders are not “narrowly tailored” to further any compelling
22
     governmental interest. Defendants have granted numerous special exemptions to their
23
     bans on public gatherings and conduct, including for purportedly “essential” businesses
24
     and activities, provided that social distancing practices are observed. Since these
25
     gatherings may be permitted, there can be no doubt that Defendants may, and therefore
26
     must, permit Plaintiff to engage in equivalent business activities provided that Plaintiff
27
     also adhere to the social distancing guidelines currently in place for other businesses.
28

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 1         62.   Unless and until injunctive relief is granted, Plaintiff will continue to suffer
 2 irreparable harm for which it is left without an adequate remedy at law, in that it is
 3 subject to criminal penalties (i.e. misdemeanor citations and fines) based on the
 4 enforcement of the Orders. For example, Defendant Newsom has made it a point to
 5 “prosecute” and “fine” all non-conforming “non-essential” businesses that refuse to
 6 close their doors and shut down their lawful business operations during this pandemic.
 7
                                    FIRST CLAIM FOR RELIEF
 8                              DORMANT COMMERCE CLAUSE
 9                               (By Plaintiff against All Defendants)
10         63.   Plaintiff incorporates herein by reference each and every allegation
11 contained in the preceding paragraphs of this Complaint as though fully set forth herein.
12         64.   The Commerce Clause of the U.S. Constitution grants Congress the power
13 “[t]o regulate commerce with foreign nations, among the several States and with the
14 Indian Tribes.” U.S. Const. art. 1, § 8, cl. 3. 71. In its dormant state (often called the
15 Dormant Commerce Clause), the Commerce Clause precludes states from enacting
16 legislation that discriminates against or impermissibly burdens interstate commerce.
17 State laws that facially discriminate interstate commerce are invalid per se under the
18 Commerce Clause. This is true also of state laws that are facially neutral, if they
19
   impermissibly burden interstate commerce in practice. West Lynn Creamery v. Healy,
20
   512 U.S. 186, 194–195 (1994).
21
          65.    Although the Dormant Commerce Clause is usually invoked to challenge
22
   protectionist laws that favor in-state businesses over out-of-state businesses, the Clause
23
   has a broader function: to guarantee for all citizens the right to access and to participate
24
   in interstate commerce. Just as no state can prevent out-of-staters from engaging in
25
   commerce with its residents, no state may prevent its residents from participating in
26
   commerce with those located in another state.
27
28        66.    The Executive Order impermissibly restricts Plaintiff from exercising its

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 1 right to engage in interstate commerce.
 2         67.    The V Palm Springs is a hotel in the heart of Palm Springs, which is a
 3 popular location for tourism. Before the Orders, the Hotel generated consistent business
 4 from guests staying at the Hotel. The Orders have prevented both in-state and out-of -
 5 state guests from staying at and visiting the Hotel.
 6
          68.    Governor Newsom acted under color of State law in his official capacity as
 7
     the Governor of California and within the scope of his official duties when issuing the
 8
     Executive Order.
 9
           69.    Plaintiff seeks a declaration that the Executive Order violates the Dormant
10
     Commerce Clause, and an injunction against further infringements of its rights under
11
     this Clause as described in the Prayer for Relief.
12
13                              SECOND CLAIM FOR RELIEF
14          DUE PROCESS CLAUSE OF THE FOURTEENTH AMENDMENT
15                             (By Plaintiff against All Defendants)
16         70.    Plaintiff incorporates herein by reference each and every allegation
17 contained in the preceding paragraphs of this Complaint as though fully set forth herein.
18       71.    Under the Due Process Clause of the Fourteenth Amendment to the U.S.
19 Constitution, no State shall “deprive any person of life, liberty, or property, without due
20 process of law.” The fundamental liberties protected by this Clause include most of the
21 rights enumerated in the Bill of Rights. See Duncan v. Louisiana, 391 U.S. 145, 147–
22 149 (1968). In addition, these liberties extend to certain personal choices central to
23 individual dignity and autonomy, including intimate choices that define personal
24 identity and beliefs. See, e.g., Eisenstadt v. Baird, 405 U.S. 438, 453 (1972); Griswold v.
25 Connecticut, 381 U.S. 479, 484–486 (1965).
26
           72.    Plaintiff has a fundamental property interest in conducting lawful business
27
     activities that are protected by the Due Process Clause of the Fourteenth Amendment to
28
     the U.S. Constitution.
                                                 22
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 1         73.   The Orders and Defendants’ enforcement thereof violate Plaintiff’s
 2 substantive due process rights secured by the Fourteenth Amendment. Defendants’
 3 Orders, which expressly deprive Plaintiff of its rights and liberties in lawfully operating
 4 its business by ordering the closure of “non-essential” businesses, did not afford
 5 Plaintiff with a constitutionally adequate hearing to present its case for its business to
 6
     not be shut down or to be allowed to open as soon as conditions allowed. At a
 7
     minimum, Plaintiff avers that it should have been able to decide for itself whether to
 8
     “shut down” if its business was not equipped to properly deal with the health and safety
 9
     guidelines issues by the federal and California state governments in connection with the
10
     COVID-19 crisis.
11
           74.   Defendants failed to comply with the procedural and substantive
12
     requirements of the U.S. Constitution in connection with Plaintiff’s rights and liberties
13
14 as it relates to its business, which would have given Plaintiff a meaningful opportunity
15 to respond to the proposed Orders and explain how and why they were so deeply flawed
16 and unconstitutional as applied to Plaintiff.
17       75.   Because Defendants’ decisions in issuing their Orders were made in
18 reliance on procedurally deficient and substantively unlawful processes, Plaintiff was
19 directly and proximately deprived of its property, and consequently, its ability to
20 lawfully operate its business without unconstitutional government overreach.
21         76.   Because Defendants’ decisions were made in reliance upon an arbitrary
22 and capricious interpretation of the California Constitution and related laws and statutes
23 with respect to their ability to order the statewide “closure” of all “non-essential”
24 businesses, Plaintiff was directly and proximately deprived of its property rights absent
25 substantive due process of law, in violation of the Fourteenth Amendment to the U.S.
26
     Constitution.
27
28

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 1         77.    Plaintiff has no adequate remedy at law and will suffer serious and
 2 irreparable harm to its constitutional rights unless Defendants are enjoined from
 3 enforcing the Orders.
 4         78.    Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to declaratory
 5 relief and temporary, preliminary, and permanent injunctive relief invalidating and
 6 restraining enforcement of the Orders.
 7         79.    Plaintiff found it necessary to engage the services of private counsel to
 8 vindicate its rights under the law. Plaintiff is therefore entitled to an award of attorneys’
 9 fees pursuant to 42 U.S.C. § 1988.
10
                                 THIRD CLAIM FOR RELIEF
11
             VIOLATION OF THE EQUAL PROTECTION CLAUSE OF THE
12
                                FOURTEENTH AMENDMENT
13
                               (By Plaintiff against All Defendants)
14
15         80.    Plaintiff incorporate herein by reference each and every allegation

16 contained in the preceding paragraphs of this Complaint as though fully set forth herein.
17       81.    The Fourteenth Amendment to the Constitution provides that “[n]o State
18 shall . . . deny to any person within its jurisdiction the equal protection of the laws.”
19         82.    At its core, the Equal Protection Clause of the Fourteenth Amendment
20 functions as a constitutional guarantee that no person or group will be denied the
21 protection under the law that is enjoyed by similar persons or groups. In other words,
22 persons similarly situated must be similarly treated. Equal protection is extended when
23 the rules of law are applied equally in all like cases and when persons are exempt from
24 obligations greater than those imposed upon others in like circumstances. Equal
25 protection requires the state to govern impartially—not draw arbitrary distinctions
26 between businesses based solely on differences that are irrelevant to a legitimate
27
     governmental objection.
28

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 1         83.    The Orders and Defendants’ enforcement thereof violate the Fourteenth
 2 Amendment, both facially and as-applied to Plaintiff.
 3         84.    Defendants have intentionally and arbitrarily categorized California
 4 businesses and conduct as either “essential” or “non-essential.” Those businesses
 5 classified as “essential,” or as participating in “essential services,” are permitted to go
 6 about their business and activities provided certain social distancing practices are
 7 employed. Those classified as “non-essential,” or as engaging in “non-essential
 8 activities,” are required to shut down and have their workers stay in their residences,
 9 unless it becomes necessary for them to leave for one of the enumerated “essential”
10 activities.
11         85.    Strict scrutiny under the Equal Protection Clause applies where, as here,
12 the classification impinges on a fundamental right, including the right to due process
13 and the right to travel (both interstate and intrastate), among others.
14         86.    The Orders do not pass muster under a strict scrutiny analysis because their
15 arbitrary classifications are not narrowly tailored to further compelling government
16 interests, for the reasons stated above.
17         87.    Plaintiff has no adequate remedy at law and will suffer serious and
18 irreparable harm to its constitutional rights unless Defendants are enjoined from
19 enforcing the Orders.
20         88.    Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to declaratory
21 relief and temporary, preliminary, and permanent injunctive relief invalidating and
22 restraining enforcement of the Orders.
23         89.    Plaintiff found it necessary to engage the services of private counsel to
24 vindicate its rights under the law. Plaintiff is therefore entitled to an award of attorneys’
25 fees pursuant to 42 U.S.C. § 1988.
26
     //
27
     //
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     //
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 1                                 FOURTH CLAIM FOR RELIEF
 2     VIOLATION OF THE TAKINGS CLAUSE OF THE FIFTH AMENDMENT
 3                                (By Plaintiff against All Defendants)
 4         90.    Plaintiff incorporates herein by reference each and every allegation
 5 contained in the preceding paragraphs of this Complaint as though fully set forth herein.
 6
          91.    The Supreme Court has long held that “the Fifth Amendment…was
 7
   designed to bar Government from forcing people alone to bear public burdens which, in
 8
   all fairness and justice, should be borne by the public as a whole.” See Armstrong v.
 9
   United States (1960) 364 U.S. 40, 49.
10
          92.    The California Supreme Court has found that “[w]hile the police power is
11
   very broad in concept, it is not without restrictions in relation to the taking of damaging
12
   of property. When it passes beyond proper bounds in its invasion of property rights, it
13
14 in effect comes within the purview of the law of eminent domain and its exercise
15 requires compensation.” House v. Los Angeles County Flood Control Dist., 25 Cal.2d
16 384 (1944) (emphasis added). The House Court went on to specifically list four (4)
17 examples when a taking was not eligible for compensation: (1) destroying a building in
18 front of a fire so as to create a fire break, (2) destroying a diseased animal, (3) rotten
19 fruit or (4) infected trees.
20         93.    In this case, none of these examples applies to Plaintiff’s situation.
21 Defendants’ Orders mandated that because Plaintiff’s is a “non-essential” business, it
22 was required to “shut down” and cease all operations as a means to help curb the spread
23 of COVID-19. Such a mandate completely and unconstitutionally deprives Plaintiff of
24 all economically beneficial use of its businesses without just compensation.
25
           94.    While the “police power” is inherent in a sovereign government and is
26
     reserved for the states in the 10th Amendment to the U.S. Constitution, it is not without
27
     constitutional limits. See Euclid v. Ambler Realty Company, 272 U.S. 365 (1926)
28
     (holding that local governments may protect the general welfare through the enactment
                                                   26
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 1 of residential zoning ordinances). In California specifically, the Constitution directly
 2 gives this power to cities and counties. As such, these agencies (such as the County
 3 Defendants) have the power and authority to make and enforce laws to protect public
 4 health and safety to the extent that they do not conflict with California state laws.
 5 See Cal. Const. Article XI Section 7; Miller v. Board of Public Works, 195 Cal.
 6
   477 (1925). However, a government’s “police power” in this area is restricted by
 7
   constitutional considerations, including the Fifth Amendment’s “Takings Clause,” as
 8
   well as eue process and equal protection.
 9
          95.   Defendants’ Orders and the enforcement thereof have caused both a
10
   complete and total regulatory and physical taking of Plaintiff’s property without just
11
   compensation in violation of the Takings Clause of the Fifth Amendment to the U.S.
12
   Constitution. At a minimum, the effect of Defendants’ Orders constitutes a “partial”
13
14 taking under the Penn-Central three-factor test. See Penn Central Trans. Co. v. City of
15 New York , 438 U.S. 104, 124 (1978). As a result, Defendants’ blatant violation of the
16 Takings Clause has caused proximate and legal harm to Plaintiff.
17         96.    Plaintiff has no adequate remedy at law and will suffer serious and
18 irreparable harm to its constitutional rights unless Defendants are enjoined from
19 enforcing the Orders.
20         97.    Pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff is entitled to declaratory
21 relief and temporary, preliminary, and permanent injunctive relief invalidating and
22 restraining enforcement of the Orders.
23         98.    Plaintiff found it necessary to engage the services of private counsel to
24 vindicate its rights under the law. Plaintiff is therefore entitled to an award of attorneys’
25 fees pursuant to 42 U.S.C. § 1988.
26 //
27 //
28 //

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 1                               FIFTH CLAIM FOR RELIEF
 2                VIOLATION OF THE CALIFORNIA CONSTITUTION
 3                          Right to Liberty (Cal. Const. Art. 1, § 1)
 4                            (By Plaintiff against All Defendants)
 5         99.    Plaintiff incorporates herein by reference each and every allegation
 6 contained in the preceding paragraphs of this Complaint as though fully set forth herein.
 7
         100. Since 1879, the California Constitution has provided intrinsic and
 8
   unalienable rights and liberties to its citizens. Chief among those rights and liberties are
 9
   those found in Article 1 of the California Constitution. Article 1, Section 1 of the
10
   California Constitution provides, in pertinent part:
11
12           Article 1, Section1: All people are by nature free and independent and have
13           inalienable rights. Among these are enjoying and defending life and liberty,
14           acquiring, possessing, and protecting property, and pursuing and obtaining
15           safety, happiness, and privacy.
16         101.   Defendants’ Orders have not only interfered with Plaintiff’s rights and
17 liberties as set forth under Article 1, Sections 1, 7, and 19 of the California Constitution,
18
   but they have further deprived Plaintiff of the use, enjoyment and ability to operate its
19
   business on account of a discriminatory classification as a “non-essential” business.
20
          102. Defendants’ Orders have proximately and legally caused tremendous
21
   financial harm not just to Plaintiff’s business, but to the entire California economy,
22
   which will continue to have deleterious effects unless and until Defendants are enjoined
23
   by this Court from enforcing their respective Orders.
24
          103. California courts have held that Public Health Officials’ authority over the
25
   rights of personal liberty is limited. Before exercising their full powers to quarantine,
26
   there must be “reasonable grounds [] to support the belief that the person so held is
27
   infected.” Ex parte Martin, 83 Cal. App. 2d 164 (1948). Public Health Officials must be
28

                                                28
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 1 able to show “probable cause to believe the person so held has an infectious disease …”
 2 Id.
 3         104.   California courts have previously held that Public Health Officials could
 4 not quarantine twelve (12) blocks of San Francisco Chinatown because of nine (9)
 5 deaths due to bubonic plague. See Jew Ho v. Williamson, 103 F. 10 (C.C. Cal. 1900),
 6 and Wong Wai v. Williamson, 103 F. 1 (C.C. Cal. 1900). The court found it “purely
 7 arbitrary, unreasonable, unwarranted, wrongful, and oppressive interference with the
 8 personal liberty of complainant” who had “never had or contracted said bubonic plague;
 9 that he has never been at any time exposed to the danger of contracting it, and has never
10 been in any locality where said bubonic plague, or any germs of bacteria thereof, has or
11 have existed.” Jew Ho, 103 F. 10.
12         105.   California courts have further held that “a mere suspicion [of a contagious
13 disease], unsupported by facts giving rise to reasonable or probable cause, will afford
14 no justification at all for depriving persons of their liberty and subjecting them to virtual
15 imprisonment under a purported order of quarantine.” Ex parte Arta, 52 Cal. App. 380,
16 383 (1921) (emphasis added).
17         106.   In Jew Ho v. Williamson, 103 F. 10 (C.C. Cal. 1900) and Wong Wai v.
18 Williamson, 103 F. 1 (CC Cal. 1900), the courts found that there were more than 15,000
19 people living in the twelve blocks of San Francisco Chinatown who were to be
20 quarantined. The courts found it unreasonable to shut down the ability of over 15,000
21 people to make a living because of nine deaths. This was one death for every 1,666
22 inhabitants of Chinatown.
23         107.   Requiring Plaintiff to abstain from conducting lawful business in the State
24 of California, despite other compliance measures being taken to satisfy the public health
25 interests at stake, violates its liberty rights under the California Constitution.
26         108.   Plaintiff has no adequate remedy at law and will suffer serious and
27 irreparable harm to its constitutional rights unless Defendants are enjoined from
28 enforcing the Orders.

                                                 29
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 1         109.   Plaintiff has found it necessary to engage the services of private counsel to
 2 vindicate their rights under the law. Plaintiff is therefore entitled to an award of
 3 attorneys’ fees and costs pursuant to California Code of Civil Procedure Section 1021.5.
 4
                                 SIXTH CLAIM FOR RELIEF
 5
                  VIOLATION OF THE CALIFORNIA CONSTITUTION
 6
                            Right to Liberty (Cal. Const. Art. 1, § 7)
 7
                              (By Plaintiff against All Defendants)
 8
           110.   Plaintiff incorporates herein by reference each and every allegation
 9
     contained in the preceding paragraphs of this Complaint as though fully set forth herein.
10
           111.   Article 1, Section 7 of the California Constitution provides, in pertinent
11
12 part:
13           Article 1, Section 7:
14         (a) A person may not be deprived of life, liberty, or property without due
               process of law or denied equal protection of the laws; provided, that
15
               nothing contained herein or elsewhere in this Constitution imposes upon
16             the State of California or any public entity, board, or official any
17             obligations or responsibilities which exceed those imposed by the Equal
               Protection Clause of the 14th Amendment to the United States
18             Constitution with respect to the use of pupil school assignment or pupil
19             transportation. In enforcing this subdivision or any other provision of this
               Constitution, no court of this State may impose upon the State of
20
               California or any public entity, board, or official any obligation or
21             responsibility with respect to the use of pupil school assignment or pupil
22             transportation, (1) except to remedy a specific violation by such party
               that would also constitute a violation of the Equal Protection Clause of
23             the 14th Amendment to the United States Constitution, and (2) unless a
24             federal court would be permitted under federal decisional law to impose
               that obligation or responsibility upon such party to remedy the specific
25             violation of the Equal Protection Clause of the 14th Amendment of the
26             United States Constitution.
27
28

                                                30
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 1         112.   California’s constitutional guarantee of equal protection and the Fourteenth
 2 Amendment’s guarantee of equal protection are substantially equivalent and analyzed in
 3 similar fashion. Kenneally v. Medical Board, 27 Cal.App.4th 489 (App. 2 Dist. 1994).
 4         113.   In addition, California’s constitutional guarantee of equal protection under
 5 Article 1 Section 7 of the California Constitution has been judicially defined to mean
 6 that no person or class of persons shall be denied the same protection of the laws which
 7 is enjoyed by other persons or other classes in like circumstances in their lives, liberty
 8 and property and in their pursuit of happiness. People v. Romo, 14 Cal.3d 189 (1975);
 9 Gray v. Whitmore, 17 Cal.App.3d 1 (1971).
10         114.   Requiring Plaintiff to abstain from conducting lawful business in the State
11 of California, despite other compliance measures being taken to satisfy the public health
12 interests at stake, violates its liberty rights under the California Constitution.
13         115.   Plaintiff has no adequate remedy at law and will suffer serious and
14 irreparable harm to its constitutional rights unless Defendants are enjoined from
15 enforcing the Orders.
16         116.   Plaintiff has found it necessary to engage the services of private counsel to
17 vindicate its rights under the law. Plaintiff is therefore entitled to an award of attorneys’
18 fees and costs pursuant to California Code of Civil Procedure Section 1021.5.
19
                               SEVENTH CLAIM FOR RELIEF
20
                   VIOLATION OF THE CALIFORNIA CONSTITUTION
21
                            Right to Liberty (Cal. Const. Art. 1, § 19)
22
                               (By Plaintiff against All Defendants)
23
           117.   Plaintiff incorporates herein by reference each and every allegation
24
     contained in the preceding paragraphs of this Complaint as though fully set forth herein.
25
           118.   Article 1, Section 19 of the California Constitution provides, in pertinent
26
27 part:
28           Article 1, Section 19:

                                                 31
     Complaint                                                                          Case No.:
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 1         (a) Private property may be taken or damaged for a public use and only when just
               compensation, ascertained by a jury unless waived, has first been paid to, or
 2             into court for, the owner. The Legislature may provide for possession by the
 3             condemnor following commencement of eminent domain proceedings upon
               deposit in court and prompt release to the owner of money determined by the
 4
               court to be the probable amount of just compensation.
 5         119.     California courts have routinely held that the California Constitution
 6
     provides just compensation to property owners when their land is taken for public use
 7
     because the law seeks to bar the government from forcing some people alone to bear
 8
     public burdens which, in all fairness and justice, should be borne by the public as a
 9
     whole. Jefferson Street Ventures, LLC v. City of Indio, 236 Cal.App.4th 1175 (App. 4
10
     Dist. 2015).
11
           120.     Moreover, the principle behind the concept of just compensation for
12
     property taken for public use is to put the owner in as good a position pecuniarily as he
13
14 or she would have occupied if his or her property had not been taken. City of Carlsbad
15 v. Rudvalis, 109 Cal.App.4th 667 (App. 4 Dist. 2003).
16         121.     Finally, the constitutional guarantee of just compensation for property
17 taken by the government is not only intended to protect the landowner (or business
18 owner), but it also protects the public by limiting its liability to losses that can fairly be
19 attributed to the taking. Emeryville Redevelopment v. Harcros Pigments, Inc., 101
20 Cal.App.4th 1083 (2002).
21         122.     Requiring Plaintiff to abstain from conducting lawful business in the State
22 of California, despite other compliance measures being taken to satisfy the public health
23 interests at stake, violates its liberty rights under the California Constitution.
24         123.     Plaintiff has no adequate remedy at law and will suffer serious and
25 irreparable harm to its constitutional rights unless Defendants are enjoined from
26 enforcing the Orders.
27
28

                                                 32
     Complaint                                                                          Case No.:
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 1         124.   Plaintiff has found it necessary to engage the services of private counsel to
 2 vindicate its rights under the law. Plaintiff is therefore entitled to an award of attorneys’
 3 fees and costs pursuant to California Code of Civil Procedure Section 1021.5.
 4
                                 EIGTH CLAIM FOR RELIEF
 5
                         VIOLATION OF CAL. GOV. CODE § 8572
 6
                        Commandeering Private Property or Personnel
 7
                            (By Plaintiff against Defendant Newsom)
 8
           125.   Plaintiff incorporates herein by reference each and every allegation
 9
     contained in the preceding paragraphs of this Complaint as though fully set forth herein.
10
           126.   The State of California’s Government Code Title 2, Chapter 7, Article 3,
11
     Section 8572, reads, in pertinent part:
12
           In the exercise of the emergency powers hereby vested in him during a
13         state of war emergency or state of emergency, the Governor is authorized
14         to commandeer or utilize any private property or personnel deemed by him
           necessary in carrying out the responsibilities hereby vested in him as Chief
15         Executive of the state and the state shall pay the reasonable value thereof.
16         (Emphasis added).
17         127.   By virtue of his Executive Order, Defendant Newsom commandeered and
18 utilized Plaintiff’s “non-essential” business for the purpose of slowing the spread of
19 COVID-19.
20         128.   To date, the State of California has not paid Plaintiff the “reasonable value
21 thereof” in exchange for Defendant Newsom’s commandeering and utilization of
22 Plaintiff’s “non-essential” business.
23         129.   Plaintiff has found it necessary to engage the services of private counsel to
24 vindicate its rights under California Government Code Section 8572. Plaintiff is
25
   therefore entitled to an award of attorneys’ fees and costs pursuant to California Code of
26
   Civil Procedure Section 1021.5.
27
28

                                                33
     Complaint                                                                      Case No.:
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 1                               NINTH CLAIM FOR RELIEF
 2                JUST COMPENSATION UNDER CALIFORNIA CODE
 3                                     Claim for Damages
 4                            (By Plaintiff against All Defendants)
 5         130.   Plaintiff incorporates herein by reference each and every allegation
 6 contained in the preceding paragraphs of this Complaint as though fully set forth herein.
 7         131.   California law requires the state to pay the reasonable value should the
 8 Governor “utilize any private property … deemed by him necessary in carrying out the
 9 responsibilities …” of the California Emergency Services Act. Cal. Gov. Code § 8572.
10         132.   California law requires the State to reimburse its citizens for any losses
11 incurred by compliance with such an order. See, e.g., Cal. Health and Safety Code §
12 101025 (“and provide for the payment of all expenses incurred in enforcing them”); id.
13 § 101040 (preventive measures in an emergency shall be funded by the county
14 imposing the order); id. § 120210 (owners of property lost as a result of a quarantine
15 order may be compensated).
16       133. The Executive Order does not include any means to reimburse Plaintiff for
17 its losses.
18         134. But for the Orders, Plaintiff would not have shut down its Hotel and
19 forfeited substantial revenue which it will never recover.
20         135.   It was foreseeable that the Orders shutting down Plaintiff’s business would
21 result in massive economic losses to Plaintiff.
22        136. As a proximate result of Defendants’ actions, Plaintiff has been damaged in
23 a sum according to proof at the time of trial.
24
25                                   REQUESTED RELIEF
26         WHEREFORE, Plaintiff requests that this Court:
27         (1) Issue a declaratory judgment:
28

                                                 34
     Complaint                                                                       Case No.:
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 1                a. That Defendant Newsom’s March 19, 2020 Executive Order N-33-20 is
 2                   null and void and of no effect, as:
 3                         i. unconstitutional under the Fifth Amendment;
 4                         ii. unconstitutional under the Fourteenth Amendment;
 5                     iii. arbitrary and capricious, an abuse of discretion, or otherwise not
 6
                              in accordance with the U.S. and/or California Constitutions;
 7
                        iv. contrary to constitutional right, power, privilege, or immunity in
 8
                              violation of the U.S. and/or California Constitutions;
 9
                           v. in excess of statutory jurisdiction, authority, or limitations, or
10
                              short of statutory right in violation of the U.S. and/or California
11
                              Constitutions.
12
                  b. That Defendant Dr. Angell’s March 22, 2020 enumerated list of
13
14                   “Essential Critical Infrastructure Workers” following Defendant

15                   Newsom’s Executive Order N-33-20 is null and void and of no effect,

16                   as:
17                         i. unconstitutional under the Fifth Amendment;
18                         ii. unconstitutional under the Fourteenth Amendment;
19                     iii. arbitrary and capricious, an abuse of discretion, or otherwise not
20                            in accordance with the U.S. and/or California Constitutions;
21                      iv. contrary to constitutional right, power, privilege, or immunity in
22                            violation of the U.S. and/or California Constitutions;
23                         v. in excess of statutory jurisdiction, authority, or limitations, or
24                            short of statutory right in violation of the U.S. and/or California
25
                              Constitutions.
26
          (2) Set aside and hold unlawful Defendants’ Orders.
27
          (3) Permanently enjoin Defendants and all persons and entities in active concert
28
                 or participation with Defendants, from enforcing the Orders.
                                                  35
     Complaint                                                                         Case No.:
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 1        (4) Issue a temporary restraining order and a preliminary injunction preventing
 2               Defendants from enforcing their Orders until this Court decides the merits of
 3               this lawsuit.
 4        (5) Permanently enjoin Defendants and all persons and entities in active concert
 5               or participation with Defendants from enforcing the Orders unless they are
 6
                 issued in accordance with all procedural and substantive due process
 7
                 requirements of the U.S. Constitution.
 8
          (6) Award Plaintiff damages arising from its Section 1983 Claims, and
 9
                 specifically under the Fifth Amendment of the U.S. Constitution and Article
10
                 1, Section 19 of the California Constitution’s Takings Clause.
11
          (7) Award Plaintiff the reasonable value of the loss of its business by virtue of
12
                 Defendant Newsom’s Executive Order pursuant to California Government
13
14               Code Section 8572.

15        (8) Award Plaintiff its costs and reasonable attorneys’ fees incurred in this action

16               pursuant to 42 U.S.C. Section 1988, California Code of Civil Procedure
17               Section 1021.5, and any other legal basis for such fees and costs as may
18               apply;
19        (9) For compensatory damages in the sum of according to proof at trial; and
20        (10) Grant all other such relief as the Court may deem just and proper.
21
     Dated: June 2, 2020                    GERAGOS & GERAGOS, APC
22
23
                                             /s/ Mark J. Geragos
24                                          Mark J. Geragos, SBN 108325
25                                          Ben J. Meiselas, SBN 277412
26                                          Matthew M. Hoesly, SBN 289593
27                                          Matthew J. Vallejo, SBN 322713
28                                          Arthur Karagezian, SBN 328749

                                                36
     Complaint                                                                      Case No.:
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 1                                    DHILLON LAW GROUP INC.
 2                                     /s/ Harmeet K. Dhillon
 3                                    Harmeet K. Dhillon, SBN 207873
 4                                    Mark P. Meuser, SBN 231335
 5                                    Nitoj P. Singh, SBN 265005
 6
 7
                                      Attorneys for Plaintiff
 8
                                      PCG-SP Venture I LLC dba V Palm Springs
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12                           JURY TRIAL DEMANDED
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     Complaint                                                                  Case No.:
